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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :

        v.                                   :   CASE NO. 21 Cr. 447 (CJN)

JOSEPH DANIEL HUTCHINSON, III, :

                 Defendant.


                GOVERNMENT’S OPPOSIITON TO DEFENDANT’S MOTION
                      TO MODIFY CONDITIONS OF RELEASE

         The United States of America respectfully submits this memorandum in opposition to

defendant Joseph Daniel Hutchinson’s most recent motion to modify the conditions of his release.

ECF No. 146. The Government respectfully opposes the defendant’s request to remove condition

that he be subject to home detention enforced by location monitoring and instead subject to stand-

alone monitoring.

                                       Procedural Posture

         On June 25, 2021, Hutchinson was charged by complaint (the “Complaint”) with: (1)

Assaulting, Resisting, or Impeding Certain Officers or Employees, in violation of 18 U.S.C.

§§ 111(a)(1), and 2; (2) Knowingly Entering or Remaining in any Restricted Building or Grounds

Without Lawful Authority, in violation of 18 U.S.C. § 1752(a)(1); (3) Disorderly and Disruptive

Conduct in a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(2); (4) Engaging

in Physical Violence in a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(4);

and (5) Violent Entry and Disorderly Conduct on Capitol Grounds, in violation of 40 U.S.C.

§ 5104(e)(2)(F). 1


1
    The conduct underlying these charges is outlined in the Complaint, ECF No. 1-1. See ECF No.
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       Hutchinson was arrested in the Middle District of Georgia on June 30, 2021 and presented

in that district on that same date. 2 Hutchinson was released subject to bail conditions that included

home detention enforced by location monitoring.

       On July 1, 2021, a grand jury in the District of Columbia returned indictment charging

Hutchinson with (1) three counts of Assaulting, Resisting, or Impeding Certain Officers, in

violation of 18 U.S.C. §§ 111(a)(1); (2) Knowingly Entering or Remaining in any Restricted

Building or Grounds Without Lawful Authority, in violation of 18 U.S.C. § 1752(a)(1) (Count

Sixteen); (3) Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation

of 18 U.S.C. § 1752(a)(2); (4) Engaging in Physical Violence in a Restricted Building or Grounds,

in violation of 18 U.S.C. § 1752(a)(4); and (5) Violent Entry and Disorderly Conduct on Capitol

Grounds, in violation of 40 U.S.C. § 5104(e)(2)(F). 3

       At Hutchinson’s initial appearance in this district, on July 8, 2021, Magistrate Judge G.

Michael Harvey set high intensity supervision conditions, which included home detention and GPS

monitoring. ECF No. 21. The home detention requirement mandates that he remain at his residence

except for certain, enumerated exceptions that include employment, education, religious services,

health care appointments, attorney visits, court-ordered obligations, or other activities approved in

advance by the pretrial services office. ECF No. 21, ¶ 7(p)(ii). Hutchinson is also required to


1-1 ¶¶ 33-36.
2
 Three of Hutchinson’s co-defendants – Perkins, Doolin, and Olivia Pollock – were also arrested
on June 30, 2021, and released subject to bail conditions. A fifth defendant, Jonathan Pollock,
who was the most violent member of the core group, has yet to be apprehended.
3
 On July 13, 2022, a grand jury returned a superseding indictment in this case. In addition to the
charges in the initial indictment, the superseding indictment also charged Hutchinson with Civil
Disorder, in violation of 18 U.S.C. § 231(a)(3).

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notify the pretrial services office of travel outside of his home jurisdiction and comply with

supervision requirements. ECF No. 21, ¶ 7(t). 4

       Hutchinson has filed several motions seeking to modify the conditions of his release,

seeking permission to travel from the Middle District of Georgia to the Middle District of Florida

in order to see his family for holidays and to socialize with his co-defendants, ECF Nos. 65, 69,

86, 87, 94; 114, which the Court has granted, ECF Nos. 66, 89; Min. Order, Dec. 22, 2021; Min

Order, Apr. 6, 2022; Min. Order June 21, 2022. Hutchinson now seeks to remove the home

detention condition entirely and to be placed on stand-alone GPS monitoring. The Court should

not grant this modification.

     The Court Should Not Modify the Conditions of the Defendant’s Pretrial Release

       The pretrial release conditions imposed by Judge Harvey continue to balance allowing

the defendant to maintain his current employment, protecting the safety of the community, and

ensuring his continued appearance before the Court.          The removal of Hutchinson’s home

detention condition so that he can take a job that requires significant interstate travel upsets this

balance and will leave Hutchinson subject to significantly less monitoring that is currently

mandated.    The Government’s understanding, after consulting with Hutchinson’s Pretrial

Services officer, is that the scope and frequency of the travel anticipated as a pilot escort driver

is inconsistent with a condition of home detention and that, even were stand-alone location

monitoring imposed, such travel would make it difficult to monitor Hutchinson effectively.

Although the Court has ordered that Hutchinson and his co-defendants not have contact with



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  The government believes the travel notification requirement and the home detention
requirement are mutually inconclusive.

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Jonathan Pollock, who remains a fugitive, the Government is concerned that the travel anticipated

by Hutchinson’s position as a pilot escort driver – “primarily Alabama, Georgia, Florida,

Tennessee, South Carolina and North Carolina,” ECF No. 146 at 6 – would enable Hutchinson

to communicate with and provide assistance to Pollock.

       A defendant’s efforts to obtain employment is typically a positive development, but it is

concerning that Hutchinson would invest so much effort in training for a position that is clearly

at odds with his release conditions, prior to obtaining a modification of those conditions.

Hutchinson is well-aware of the conditions and cognizant of restrictions they impose on his travel,

among other things. Yet, he completed the required trainings in July, see ECF No. 146 Ex. 2,

prior to ensuring that he would be able to accept such a position. Such timing indicates that

Hutchison decided to act first and seek the Court’s permission later.




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                                       CONCLUSION

       For the foregoing reasons, the government respectfully requests that the Court deny the

defendant’s motion.

                                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 6, 2022 I caused a copy of the foregoing opposition to
be served on defense counsel of record via email.

                                            /s/ Benet J. Kearney
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